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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                      No. 1:21-cv-02900-CJN
       v.

HERRING NETWORKS, INC., d/b/a ONE                   Judge Carl J. Nichols
AMERICA NEWS NETWORK

                   Defendant.

                        STIPULATION FOR PROTECTIVE ORDER

       Pursuant to Federal Rule of Civil Procedure 26(c), plaintiffs Smartmatic USA Corp.,

Smartmatic International Holding B.V., and SGO Corporation, and defendant Herring Networks,

Inc. d/b/a One America News Network, stipulate to and request entry of a protective order pursuant

to the terms provided in the attached proposed order.

Dated: December 12, 2022

 By: /s/ Blaine Kimrey                            By: /s/ Michael E. Bloom
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 12, 2022, I caused the foregoing to be

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt.


/s/ Michael E. Bloom
Michael E. Bloom




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